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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

In re:                                                               Chapter 11

WOODBRIDGE GROUP OF COMPANIES, LLC, et                               Case No. 17-12560 (JKS)
al.,1
                                                                     (Jointly Administered)
                                    Remaining Debtors.

MICHAEL GOLDBERG, as Liquidating Trustee of                          Adversary Proceeding
the Woodbridge Liquidation Trust, successor in
interest to the estates of WOODBRIDGE GROUP OF                       Case No. 19-50347 (JKS)
COMPANIES, LLC, et al.,
                                    Plaintiff,
                             vs.

RONALD DRAPER,

                                    Defendant.


                STIPULATION OF DISMISSAL OF ADVERSARY PROCEEDING


          Plaintiff Michael Goldberg, as Liquidating Trustee of the Woodbridge Liquidation Trust,

and defendant Ronald Draper (together, the “Parties”), have entered into a settlement agreement

that resolves the claims asserted in the above-captioned adversary proceeding. Accordingly, the

Parties hereby stipulate, pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure,

made applicable to this adversary proceeding by Rule 7041 of the Federal Rules of Bankruptcy




                                    [Remainder of Page Intentionally Left Blank]



1
 The Remaining Debtors and the last four digits of their respective federal tax identification numbers are as follows:
Woodbridge Group of Companies, LLC (3603) and Woodbridge Mortgage Investment Fund 1, LLC (0172). The
Remaining Debtors’ mailing address is 14140 Ventura Boulevard #302, Sherman Oaks, California 91423.


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Procedure, to the dismissal with prejudice of this adversary proceeding, with each party to bear

its own attorneys’ fees and costs.



   STIPULATED AND AGREED:

   Dated: February 28, 2025                            Dated: February 28, 2025

   PACHULSKI STANG ZIEHL & JONES LLP                   LAW OFFICE OF CURTIS A. HEHN

   /s/ Colin R. Robinson                               /s/ Curtis A. Hehn
   Bradford J. Sandler (DE Bar No. 4142)               Curtis A. Hehn (Bar No. 4264)
   Andrew W. Caine (CA Bar No. 110345)                 1007 N. Orange St., 4th Floor
   Colin R. Robinson (DE Bar No. 5524)                 Wilmington, DE 19801
   919 North Market Street, 17th Floor                 Telephone: (302) 757-3491
   P.O. Box 8705                                       Facsimile: (302) 295-4801
   Wilmington, DE 19899-8705 (Courier 19801)           Email: curtishehn@comcast.net
   Telephone: (302) 652-4100
   Facsimile: (302) 652-4400                           Counsel to Defendant, Ronald Draper
   Email: bsandler@pszjlaw.com
           acaine@pszjlaw.com
           crobinson@pszjlaw.com

   Counsel to Plaintiff




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